Case 8:19-cv-02147-JSM-SPF Document 16-2 Filed 01/30/20 Page 1 of 23 PageID 538
Case 8:19-cv-02147-JSM-SPF Document 16-2 Filed 01/30/20 Page 2 of 23 PageID 539
Case 8:19-cv-02147-JSM-SPF Document 16-2 Filed 01/30/20 Page 3 of 23 PageID 540




              EXHIBIT
                 1
Case 8:19-cv-02147-JSM-SPF Document 16-2 Filed 01/30/20 Page 4 of 23 PageID 541
Case 8:19-cv-02147-JSM-SPF Document 16-2 Filed 01/30/20 Page 5 of 23 PageID 542
Case 8:19-cv-02147-JSM-SPF Document 16-2 Filed 01/30/20 Page 6 of 23 PageID 543
Case 8:19-cv-02147-JSM-SPF Document 16-2 Filed 01/30/20 Page 7 of 23 PageID 544
Case 8:19-cv-02147-JSM-SPF Document 16-2 Filed 01/30/20 Page 8 of 23 PageID 545
Case 8:19-cv-02147-JSM-SPF Document 16-2 Filed 01/30/20 Page 9 of 23 PageID 546




              EXHIBIT
                 2
Reseller Application and License Agreement | EmeCloud
              Case 8:19-cv-02147-JSM-SPF Document 16-2 Filed 01/30/20 Page 10 of 23 PageID 547




                                                                                                                 Search




             HOME        FOR RESELLERS              FOR BUSINESSES               CLOUD NEWS   ABOUT US   BROCHURES


             EVENTS         CONTACT US




             Reseller Application and License Agreement
             Fields marked with a * are required


                    PLEASE COMPLETE ALL FIELDS TO
                       PROPERLY SEND RESELLER
                             AGREEMENT!
              This Reseller Application and License Agreement (“Agreement”) is between EME CLOUD, LLC., a
              Florida Limited Liability Company (“EmeCloud”), with its principal offices located at 1401 Manatee
              Ave. W., Bradenton, FL 34205 and the entity (“Reseller”) named at the end of this agreement on
              the signature lines provided. This Agreement is intended to be governed by the Florida Electronic
              Transactions Act. You manifest your assent to the terms in this document by any act demonstrating
              your intent to agree, including clicking any button containing the words “I agree” or similar syntax,
              below. You agree that electronic communication (including email) between EmeCloud and you,
              both now and in the future, is an acceptable and reasonable means of communication. It is
              suggested that you print this Agreement for your records. If you are unable to print this Agreement,
              please contact EmeCloud and we will supply you with a copy of this Agreement.

             Recitals
              A. EmeCloud is the designer and producer of a unique IT solution that is intended to provide a fully
              functional cloud IT environment through a combination of certain proprietary software and
              processes (collectively, “EmeCloud Solution”). B. Reseller desires to acquire a limited use license
              for the components comprising the EmeCloud Solution from EmeCloud, private label the solution if
              they so choose, and then resell the EmeCloud Solution to Reseller’s end user clients (“Clients”)
              under Reseller’s designated trade name. NOW THEREFORE, for the mutual promises and

http://emecloud.com/reseller-application-and-license-agreement/[1/15/2020 3:01:20 PM]
Reseller Application and License Agreement | EmeCloud
              Case 8:19-cv-02147-JSM-SPF Document 16-2 Filed 01/30/20 Page 11 of 23 PageID 548
              covenants described in this Agreement, EmeCloud and Reseller hereby agree as follows:

             Terms & Conditions

             1) Definitions.
              a) “Entity” shall mean any natural person, corporation, general Resellership, limited Resellership,
              limited liability company or Resellership, proprietorship, other business organization, trust, union,
              association or governmental authority. b) “Reseller” means any entity that distributes, resells, or
              markets products developed and/or hosted by EmeCloud. c) “EmeCloud Solution” shall mean and
              include the combination of all hardware and software designated by EmeCloud as comprising the
              EmeCloud Solution which may be modified or updated by EmeCloud from time to time. d)
              “EmeCloud Trademarks” means all names, marks, logos, designs, trade address and other brand
              designation used by EmeCloud in connection with the EmeCloud Solution. e) “Agreement” shall
              mean, collectively, this Reseller Application and License Agreement, including all exhibits,
              schedules and documents referenced herein. f) “Confidential Information” shall have that definition
              ascribed to it in Section 10, below. g) “End-Client” shall mean any Entity for whom Reseller
              provides one or more elements of the EmeCloud Solution. h) “EmeCloud Control Panel” shall
              mean the EmeCloud Reseller website that allows users to add, remove or otherwise manipulate
              the elements of the EmeCloud Solution. i) “Private Label” shall mean that definition ascribed to it in
              Section 3(d), below. j) “Service Order” shall mean the form designated by EmeCloud to be used by
              Reseller to purchase products or services from EmeCloud and/or to license software from
              EmeCloud accessed in the EmeCloud Control Panel. The form may be amended from time to time
              by EmeCloud. k) “Service Level Agreement” (SLA) describes the various types of services and
              service levels that will be provided to Reseller by EmeCloud as indicated in Exhibit A.

             2) Restrictions.
              a) Non-Circumvention. During the term of this Agreement, except as expressly provided in this
              Agreement, EmeCloud shall not intentionally communicate with any End-Client about the
              EmeCloud Solution so long as EmeCloud is made aware of the identity of Reseller’s End-Clients.
              The parties agree that Reseller and/or Reseller’s designated agent shall be the primary point of
              contact with each End-Client. b) Non-Solicitation. EmeCloud agrees that during the term of this
              Agreement and for a period of twelve (12) months thereafter, EmeCloud shall refrain from soliciting
              Reseller’s End-Clients for the provision of the EmeCloud Solution. This prohibition shall not apply
              where EmeCloud terminates this Agreement For Cause (See Section 10). The parties
              acknowledge and agree that advertisements and solicitations of EmeCloud that are directed toward
              the public in general, or business discussions initiated by Reseller’s End-Clients, shall not be a
              breach of this section. c) Nondisclosure. EmeCloud further agrees not to disclose any information
              to any third party that identifies End-Client or End-Client’s use of the EmeCloud Solution without
              the express written consent of Reseller. Notwithstanding the forgoing, EmeCloud shall be permitted
              to collect and report information about the use of the EmeCloud Solution by Resellers and End-
              Clients for EmeCloud’s research purposes, provided however, that such information is collected
              and used in a de-identified manner. d) Opportunity Registration. If the Reseller registers his
              opportunities and complies with the requirements of the Registration Program, EmeCloud will
              protect the end-client opportunity.

             3) Services. Branding.


http://emecloud.com/reseller-application-and-license-agreement/[1/15/2020 3:01:20 PM]
Reseller Application and License Agreement | EmeCloud
              Case 8:19-cv-02147-JSM-SPF Document 16-2 Filed 01/30/20 Page 12 of 23 PageID 549
              a) License Grant. Subject to Reseller’s material compliance with the terms of this Agreement,
              EmeCloud hereby grants to Reseller a non-exclusive, non-assignable, worldwide right to use the
              EmeCloud Solution solely to provide services to End-Clients. Except to the extent expressly
              authorized or permitted in this Agreement or by applicable law without the possibility of contractual
              waiver, Reseller shall not: (i) copy, transfer or distribute the EmeCloud Solution, (ii) reverse
              assemble, reverse engineer, reverse compile, or otherwise translate any portion of the EmeCloud
              Solution, or (iii) sublicense or assign the license conveyed to Reseller herein. b) Additional
              Services. During the term of this Agreement, Reseller may increase or decrease the services of the
              EmeCloud Solution by making appropriate changes in the EmeCloud Control Panel, and such
              changes will become effective generally within twenty four (24) hours after such changes have
              been made. Fees will be affected as described in Section 7. c) Updates. From time to time and in
              EmeCloud’s discretion, EmeCloud may implement Updates which shall be provided free of charge
              to Reseller. Updates shall not include new or additional service offerings, or support or training
              services, all of which may be subject to separate pricing schedules as determined by EmeCloud.
              d)Branding. Reseller may elect to re-brand the EmeCloud Solution under Reseller’s brand name
              (Private Label) and provide EmeCloud Solution-based services under Reseller’s label. In any
              event, the parties agree that (i) Reseller, and not EmeCloud, shall determine the prices and terms
              upon which Reseller’s services are offered to End-Clients; (ii) Reseller is an independent purchaser
              and reseller of the EmeCloud Solution, and shall not be considered an agent or legal
              representative of EmeCloud for any purpose, and neither Reseller nor any director, officer, agent or
              employee of Reseller, shall be, or be considered, an employee or agent of EmeCloud for any
              purpose whatsoever. Further, Reseller is not granted and shall not exercise any right or authority to
              assume or create any obligation or responsibility on behalf of or in the name of EmeCloud,
              including without limitation contractual obligations and obligations based on warranties or
              guarantees. Except as specifically provided in this Agreement, the operations of Reseller under this
              Agreement are subject to the sole control and management of Reseller. Reseller hereby warrants
              and represents that any and all trademarks included in or comprising the Private Label do not
              violate the intellectual property rights of any third party. e) Promotion. Reseller is hereby granted
              the right to create and distribute promotional materials and product manuals for the EmeCloud
              Solution sold under the Reseller Label and, as part of that process, Reseller may use and modify
              the promotional materials and product manuals provided by EmeCloud to Reseller. 4) Order for
              Service a) Reseller will process all Service Orders via the EmeCloud Control Panel. b) For items
              not contained within the EmeCloud Control Panel, the EmeCloud will respond with a Custom Quote
              for services along with an estimated time frame to implement Custom Services. c) Reseller shall
              have five (5) business days from EmeCloud’s delivery of the Custom Service to test and accept
              service. Billing will not commence until the next business cycle.

             5) Secure Access
              a) EmeCloud shall provide Reseller with a unique user name and password (collectively, “Security
              Information”) that will permit Reseller to access and use the EmeCloud Control Panel. The Security
              Information shall be permanently linked to the email address initially provided by Reseller to
              EmeCloud; therefore, if Reseller modifies or ceases its use of its email address, Reseller shall be
              required to re-register with EmeCloud and obtain new Security Information. EmeCloud shall have
              the right to assume, and rely upon, the authenticity of any order placed through the EmeCloud
              Control Panel using Reseller’s Security Information. Reseller shall keep the Security Information
              confidential, and shall be exclusively responsible for the security and integrity of the Security
              Information. Reseller shall promptly notify EmeCloud in the event that Reseller knows or has
              reason to know that its Security Information has been accessed in an unauthorized manner or


http://emecloud.com/reseller-application-and-license-agreement/[1/15/2020 3:01:20 PM]
Reseller Application and License Agreement | EmeCloud
              Case 8:19-cv-02147-JSM-SPF Document 16-2 Filed 01/30/20 Page 13 of 23 PageID 550
              compromised to any extent. EmeCloud shall have no responsibility for, and shall be held harmless
              by Reseller against, any orders fulfilled by EmeCloud that were not requested by Reseller but
              which were the result of a request placed through the EmeCloud Control Panel using Reseller’s
              Security Information.

             6) Demo Accounts.
              a) A limited number of Demo accounts may be provided to the Reseller free of charge to be used
              to entice end clients to try the EmeCloud Solution- on a very limited time basis and then sign up for
              the service.

             7) Pricing; Purchases. Payment.
              a) The EmeCloud Control Panel has the current version of EmeCloud Solution pricing. Prices on
              the EmeCloud Control Panel are final, and are not subject to set-off, discount or modification
              whatsoever without EmeCloud’s express written permission. The EmeCloud Control Panel may
              have additional terms and conditions that limit, modify or otherwise govern the terms of the Service
              Orders, and Reseller is hereby advised to read all terms contained on the EmeCloud Control Panel
              before finalizing Reseller’s order. b) For each Client site set up, the minimum pricing increment for
              the EmeCloud Solution is a monthly charge. There is no proration for periods less than one month.
              c) Reseller will be charged automatically for the products each calendar month during each and
              every month in which this Agreement is in effect. If there was no usage, no charges will be applied.
              d) For the first month when the EmeCloud Solution is implemented and activated, Reseller will be
              charged for one full month of service-- along with any set up fees. e) There is no monthly minimum
              usage, and there is no volume discount associated with this Agreement. EmeCloud may change
              the prices charged under this Agreement at any time upon three (3) months prior notice. Failure of
              the Reseller to terminate the service will be interpreted as acceptance of the new prices. f) Invoices
              are sent out in 30 day cycles. All invoices shall be paid in full no later than by the first day of each
              month after the invoice has been issued. Late payments shall be subject to interest at the lesser of
              1.5% per month or the highest interest rate permitted by law (in each case, calculated as of the
              date when such payment is due). g) All Fees are reported in, and shall be paid in, U.S. dollars. h)
              Payment may be made by credit card, electronic funds transfer or wire transfer. i) Unless otherwise
              agreed to in writing by EmeCloud or prohibited by law, Reseller shall pay all federal, state and local
              tax, transportation tax and other tax imposed on EmeCloud (other than tax on EmeCloud’s income)
              resulting from the parties’ activities hereunder. j) Remedies. EmeCloud will begin attempts to rectify
              rejected credit card payments immediately and unpaid invoice balances 10 days after payment due
              dates. Failure to submit payment within 10 days shall constitute a material breach of this
              Agreement and such a failure shall provide EmeCloud with the right (but not the obligation) to
              automatically terminate this Agreement. Reseller understands and agrees that if Reseller fails to
              pay the Fees when due, EmeCloud reserves the right to disable the EmeCloud Solution to Reseller
              and/or End-Clients, in part or in whole, until Reseller’s payment is made in full. Reseller shall
              indemnify and hold EmeCloud harmless for and against any and all claims, causes of action,
              expenses, losses, costs or fees incurred by Reseller or any End-Client resulting from the
              suspension of services hereunder.

             8) Warranties;
              a) EmeCloud represents and warrants that (i) it has the corporate authority to enter into this
              Agreement and to be bound by the terms contained herein, (ii) it holds all right, title and interest in


http://emecloud.com/reseller-application-and-license-agreement/[1/15/2020 3:01:20 PM]
Reseller Application and License Agreement | EmeCloud
              Case 8:19-cv-02147-JSM-SPF Document 16-2 Filed 01/30/20 Page 14 of 23 PageID 551
              and to the EmeCloud Solution and/or is an authorized licensor of all elements of the EmeCloud
              Solution, and has the authority to grant the licenses described in this Agreement, (iii) services
              provided by EmeCloud will be performed by persons having skills and expertise appropriate for the
              tasks to which such persons are assigned, and (iv) the EmeCloud Solution will work in material
              compliance with its functions and features. b) EmeCloud warrants that the EmeCloud Solution
              does not violate the intellectual property rights of any third party. c) This Section (8) describes all
              warranties provided to Reseller under this Agreement. Unless otherwise expressly stated in this
              Agreement, EmeCloud shall not provide, and hereby expressly waives, all warranties including but
              not limited to implied warranties of merchantability and fitness for a particular purpose. The
              EmeCloud Solution is provided to Reseller on an “as is” basis, and EmeCloud does not warrant or
              represent that the EmeCloud Solution will be suitable for Reseller’s specific needs, or that there is
              any particular market for the EmeCloud Solution, or that Reseller’s activities hereunder will be
              profitable.

             9) Limitation of Liability.
              RESELLER AGREES THAT EMECLOUD SHALL NOT BE LIABLE FOR ANY LOSS OF DATA,
              LOSS OF INCOME OR PROFITS, BUSINESS INTERRUPTION, LOSS OF OPPORTUNITY, OR
              COST OF RECOVERY ARISING FROM THE USE OF THE EMECLOUD SOLUTION. a) Security.
              At all times EmeCloud shall use reasonable care, which in all cases shall be no less than industry-
              standard care, to ensure the security of data and information exchanged or transmitted using the
              EmeCloud Solution. However, the parties acknowledge and agree that the use of any
              communications technology, including the EmeCloud Solution, entails certain unavoidable risks,
              and that no technology is 100% foolproof or immune from attack. Accordingly, Reseller shall hold
              EmeCloud harmless from and against any claim, cause of action, loss, expense, cost, fine or fee
              arising from or related to the unintentional or accidental disclosure, misuse, or erasure of the Data,
              or any breach of security impacting or affecting the EmeCloud Solution. b) Availability. The
              EmeCloud Solution relies upon the availability of the data center where the EmeCloud Solution is
              hosted. Although EmeCloud makes every reasonable effort to ensure maximum data center
              availability, there is a possibility that the data center may become inaccessible or unavailable as a
              result of code upgrades, operating system instability, power failures, internet outages or other
              causes beyond EmeCloud’s control. For Service Levels agreed to please refer to Exhibit A. c)
              Remedy. Reseller must request the credit from EmeCloud in writing within thirty (30) days of the
              failure. Credits shall be applied only against future fees for the service.

             10)Term; Termination.
              a) Term. This Agreement shall take effect on the date the Reseller is assigned credentials to the
              EmeCloud Control Panel (“Effective Date”) and shall continue in force for three (3) years from the
              Effective Date. If not terminated, this Agreement will automatically renew annually, perpetually. b)
              Upon termination, the Reseller shall not represent that it has any right to market or distribute
              Products or Services using any EmeCloud Trademark. All embodiments of EmeCloud Trademarks,
              trade names, patents, copyrights, designs, drawings, formulas or other data, photographs,
              samples, literature, and sales aids of every kind shall remain the property of EmeCloud. c)
              Consequences for Termination. In the event of termination by either party in accordance with any
              of the provisions of this Agreement, neither party shall be liable to the other, because of such
              termination, for compensation, reimbursement or damages on account of the loss of prospective
              profits or anticipated sales or on account of expenditures, inventory, investments, leases or
              commitments in connection with the business or goodwill of EmeCloud or Reseller. Termination


http://emecloud.com/reseller-application-and-license-agreement/[1/15/2020 3:01:20 PM]
Reseller Application and License Agreement | EmeCloud
              Case 8:19-cv-02147-JSM-SPF Document 16-2 Filed 01/30/20 Page 15 of 23 PageID 552
              shall not, however, relieve either party of obligations incurred prior to the termination. d)
              Termination by EmeCloud; For Cause. EmeCloud may terminate this Agreement immediately if
              Reseller commits a material default under this Agreement and such default is not cured by Reseller
              within ten (10) days after default. e) Termination; Without Cause. Reseller may terminate this
              Agreement for any reason upon providing written notice of termination to EmeCloud no less than
              seven (7) calendar days prior to the effective date of termination. EmeCloud may terminate this
              Agreement for any reason upon providing Reseller with written notice of termination no less than
              three (3) months prior to the effective date of termination. f) Termination; Mutual Consent. This
              Agreement may be terminated upon the mutual, written consent of the parties. g) Reseller is
              responsible for all fees accrued prior to the termination date. There is no proration for periods of
              less than one month. h) The Reseller is responsible to move any and all data from the EmeCloud
              Solution prior to the termination of services. i) No Liability for Termination. EmeCloud shall not be
              liable to Reseller or any third party for any compensation, reimbursement, losses, expenses, costs
              or damages arising from or related to, directly or indirectly, the termination of this Agreement for
              any reason. This waiver of liability shall include, but shall not be limited to, the loss of actual or
              anticipated profits, anticipated or actual sales, and of expenditures, investments, or commitments
              in connection with Reseller’s or any third party’s goodwill or business.

             11) Confidentiality.
              a) Confidentiality is defined as described in the EmeCloud Confidentiality Agreement which must
              be agreed to prior to becoming a Reseller. b) Each party’s obligations under this Section 11 shall
              survive the termination of this Agreement.

             12)Ownership; Intellectual Property.
              a) At all times, EmeCloud is and shall remain the sole and exclusive owner and licensor of the
              EmeCloud Solution and any and all trademarks, copyrights, patents, works of authorship, property
              rights and goodwill relating to the EmeCloud Solution (collectively, “EmeCloud’s Intellectual
              Property Rights”). Reseller shall not take any action, directly or indirectly, that injures or diminishes,
              or may tend to injure or diminish, any of EmeCloud’s Intellectual Property Rights, nor shall Reseller
              encourage any third person to do so. Reseller agrees to inform EmeCloud immediately of any
              infringement of any of EmeCloud’s intellectual Property Rights of which the Reseller may become
              aware. b) If Reseller, in the course of re-branding the EmeCloud Solution or otherwise exercising
              its rights under this Agreement, acquires any goodwill or reputation in or to any of the EmeCloud
              Solution, all such goodwill or reputation shall automatically be transferred to and shall vest in
              EmeCloud when and as, on an on-going basis, such acquisition of goodwill or reputation occurs, as
              well as at the expiration or termination of this Agreement, without any separate payment or other
              consideration of any kind to Reseller, and Reseller agrees to take all such actions necessary to
              effect such vesting.

             13) Indemnification.
              Reseller shall indemnify and hold EmeCloud harmless from and against any and all claims,
              expenses, losses, demands, fees (including reasonable attorneys’ fees), costs and causes of
              action arising from or related to (i) Reseller’s performance under this Agreement, or (ii) the breach
              by Reseller of any representation, covenant or warranty provided by Reseller to EmeCloud under
              this Agreement (collectively, “Claims”). EmeCloud shall have the right to control the reasonable
              disposition and settlement of any Claims and Reseller agrees to cooperate with EmeCloud in the


http://emecloud.com/reseller-application-and-license-agreement/[1/15/2020 3:01:20 PM]
Reseller Application and License Agreement | EmeCloud
              Case 8:19-cv-02147-JSM-SPF Document 16-2 Filed 01/30/20 Page 16 of 23 PageID 553
              administration, handling, and settlement of all Claims.

             14) Miscellaneous.
              a) Force Majeure. Neither party shall be liable for any delay or failure to perform hereunder due to
              floods, riots, strikes, freight embargoes, acts of God, acts of war or hostilities of any nature, laws or
              regulations of any government (whether foreign or domestic, federal, state, county or municipal) or
              any other similar cause beyond the reasonable control of the party affected. A party relying on such
              an event to excuse its performance hereunder shall, as soon as reasonably possible, notify the
              other party in writing of the nature of that event and the prospects for that party's future
              performance and shall thereafter, while that event continues, respond promptly and fully in writing
              to all reasonable requests for information from the other party relating to that event and those
              prospects. b) Waivers; Amendments. The delay or failure by either party to exercise or enforce any
              of its rights under this Agreement shall not constitute or be deemed a waiver of that party's right
              thereafter to enforce those rights, nor shall any single or partial exercise of any such right preclude
              any other or further exercise thereof or the exercise of any other right. No amendment or waiver of
              any provision of this Agreement shall be effective unless it is in writing, and it is signed by the party
              against which it is sought to be enforced. Upon mutual acceptance and execution of an
              Amendment, the terms of such Amendment shall be deemed incorporated into this Agreement. To
              the extent that an Amendment conflicts with the terms of this Agreement, the Amendment shall
              control. c) Severability. If any provision of this Agreement is held to be void, the remaining
              provisions shall remain valid and shall be construed in such a manner as to achieve their original
              purposes in full compliance with the applicable laws and regulations. d) Merger. This Agreement is
              the sole and complete statement of the obligations and rights of the parties as to all matters
              covered by this Agreement, and supersedes all previous or contemporaneous understandings,
              agreements, negotiations and proposals relating thereto. The parties agree that no promises or
              inducements have been offered or made to Reseller (other than those expressly stated in this
              Agreement) to induce Reseller to enter into this Agreement and to be bound by the terms
              contained herein. e) Assignment. This Agreement shall be binding upon and inure to the benefit of
              the parties hereto and their respective successors. This Agreement shall not be assigned by
              Reseller without the prior written consent of EmeCloud, which shall not be unreasonably withheld.
              f) Captions. Captions contained in this Agreement are inserted only as a matter of convenience or
              for reference and in no way define, limit, extend, or describe the scope of this Agreement or the
              intent of any provision of this Agreement. g) Attorneys' Fees. If EmeCloud commences any action
              or proceeding against Reseller to enforce the terms of this Agreement, EmeCloud shall be entitled
              to an award against Reseller for all reasonable attorneys' fees, costs and expenses incurred by
              EmeCloud in connection with such action or proceeding (including any mediation or arbitration, and
              at all levels of trial and appeal), and in connection with the enforcement of any judgment or order
              thereby obtained. h) Governing Law. This Agreement shall be governed by, and construed in
              accordance with, the laws of the State of Florida. The parties agree that the sole and exclusive
              venue for any and all issues, claims, causes of action or matters arising from or related to this
              Agreement shall be in the state courts of Manatee County, Florida or, for federal claims and
              pendant state claims, the Federal Court in and for the Middle District of Florida. i) Notices.
              Whenever under the provisions of this Agreement, notice is required or permitted to be given to
              Reseller, EmeCloud may deliver such notice(s) to Reseller by electronic mail (“email”). Email notice
              shall be deemed given to Reseller when such notice is sent to the last known email address
              provided to EmeCloud by Reseller, regardless of whether such email address is functional or not.
              Notwithstanding any provision to the contrary, however, email notice to EmeCloud shall be
              effective only if EmeCloud subsequently acknowledges receipt of Reseller’s email via a return


http://emecloud.com/reseller-application-and-license-agreement/[1/15/2020 3:01:20 PM]
Reseller Application and License Agreement | EmeCloud
              Case 8:19-cv-02147-JSM-SPF Document 16-2 Filed 01/30/20 Page 17 of 23 PageID 554
              email to Reseller in which Reseller’s original email is either referenced or reproduced. Notice
              provided in any method other than by email shall be deemed given either when delivered
              personally, or by courier, or by facsimile machine with printed transmittal confirmation sheet; or,
              three (3) days after mailing, postage prepaid by registered or certified mail, return receipt
              requested, addressed to the party for whom it is intended with copies provided to the address set
              forth above or to such other addresses as a party shall hereafter designate in writing to another
              party. Subject to the terms described herein, the parties acknowledge and agree that electronic
              mail (“email”) and/or digital copies or electronic transmissions satisfy all “writing” requirements
              under this Agreement. j) Independent Contractor Relationship. The parties are independent
              contractors to one another, and neither party is an employee, servant, agent, Reseller or joint
              venturer of the other party. k) Business Day. If any time period set forth in this Agreement expires
              on a day other than a business day in Manatee County, Florida, i.e., on a Saturday, Sunday or
              legal holiday, such period shall be extended to and through the next succeeding business day in
              Manatee County, Florida. l) No Third Party Beneficiaries. The parties are entering into this
              Agreement solely for themselves and no other party, and nothing contained in this Agreement,
              whether expressed or implied shall be deemed to confer any rights or remedies (including, without
              limitation, third party beneficiary rights) upon, or obligate either EmeCloud or Reseller to, any third
              person or entity.



                AGREED AND ACCEPTED (fields required in the electronic form)

             Date *




             Company Name *




             Company Address 1 *




             Company Address 2




             Company City *



             Company State or Region (abbreviations preferred) *




http://emecloud.com/reseller-application-and-license-agreement/[1/15/2020 3:01:20 PM]
Emecloud Confidentiality Agreement | EmeCloud
              Case 8:19-cv-02147-JSM-SPF Document 16-2 Filed 01/30/20 Page 18 of 23 PageID 555




                                                                                                                                  Search




            HOME        FOR RESELLERS              FOR BUSINESSES               CLOUD NEWS     ABOUT US          BROCHURES


            EVENTS         CONTACT US




             EmeCloud Confidentiality Agreement
            Fields marked with a * are required


                   Please Complete All Fields to Properly Send the
                                       NDA!
                                                      CONFIDENTIALITY AGREEMENT

             This Confidentiality Agreement (“Agreement”) is made by and between EME CLOUD, LLC, a Florida Limited
             Liability Company (“EmeCloud”), with its principal offices at 1401 Manatee Ave. W., Bradenton, FL 34205,and the
             entity (“Entity”) named at the end of this agreement (hereby collectively referred to as “Parties” or individually
             referred to as “Party”)

             This Agreement is intended to be governed by the Florida Electronic Transactions Act. You manifest your assent
             to the terms in this document by any act demonstrating your intent to agree, including clicking any button
             containing the words “I agree” or similar syntax, below.

             You agree that electronic communication (including email) between EmeCloud and you, both now and in the
             future, is an acceptable and reasonable means of communication. It is suggested that you print this Agreement for
             your records. If you are unable to print this Agreement, please contact EmeCloud and we will supply you with a
             copy of this Agreement.

             A. The parties anticipate participating in ongoing business relations and/or discussions with each other (the
             “Transaction”) that will involve the disclosure of Confidential Information (defined below); and,

             B. The parties desire to set forth each other’s rights and obligations with respect to the use, dissemination and
             protection of the Confidential Information.

             NOW THEREFORE, in consideration of the mutual covenants and agreements set forth below, and for other good
             and valuable consideration, the receipt and sufficiency of which is hereby acknowledged, it is understood and


http://emecloud.com/emecloud-confidentiality-agreement/[1/15/2020 3:03:00 PM]
Emecloud Confidentiality Agreement | EmeCloud
              Case 8:19-cv-02147-JSM-SPF Document 16-2 Filed 01/30/20 Page 19 of 23 PageID 556
             agreed as follows:

                                                                       ---------

              1. Parties. The party being furnished Confidential Information about or relating to the Transaction, directly or
                   indirectly, is referred to herein as the “Recipient”, and the party furnishing or providing such information is
                   referred to herein as the “Discloser”.


              2. Permitted Use.

                    A. Defined. The term “Confidential Information” means the following information made available to the
                         Recipient by the Discloser before and after the date of this Agreement: (i) information transmitted in
                         written, oral, magnetic, electronic or any other medium; (ii) all copies and reproductions, in whole or in
                         part, of such information; and (iii) all summaries, analyses, compilations, studies, notes, records and
                         works of authorship which contain, reflect, or are generated or derived from such information.
                         Confidential Information shall not include information that: (w) has become part of the public domain
                         through no act or omission of the Recipient; (x) was lawfully disclosed to the Recipient without
                         restriction on disclosure by a third party; (y) was developed independently by the Recipient; or (z) is or
                         was lawfully and independently provided to the Recipient prior to disclosure hereunder, from a third
                         party who is not and was not subject to an obligation of confidentiality or otherwise prohibited from
                         transmitting such information.

                    B. Use. Each party hereby agrees that the Confidential Information of the Discloser shall be used solely for
                         the purpose of the Transaction, and agrees to reveal Confidential Information only to its affiliates,
                         subsidiaries, directors, officers, employees and agents (collectively “Affiliates”) on a “need to know”
                         basis. Each party agrees that, at all times, a Recipient’s disclosure to its Affiliates shall be tailored to
                         reveal only the minimum amount of information necessary to fulfill the Recipient’s duties or obligations
                         hereunder.

                    C. Advisors. Unless expressly authorized under this Agreement, a Recipient shall not disclose to any third
                         party any of the Discloser’s Confidential Information without the Discloser’s prior written consent;
                         provided, however, that the Recipient may disclose Confidential Information to its respective
                         accountants, attorneys and other confidential advisors (collectively, “Advisors”) who need to know such
                         information for the purpose of assisting the Recipient in connection with the Transaction. Recipient
                         agrees to be responsible for any breach of this Agreement by its Affiliates and Advisors, and Recipient
                         agrees that its Affiliates and Advisors will be advised by Recipient of the confidential nature of such
                         information and shall agree to be bound by this Agreement.

                    D. Transaction. Neither party nor its Affiliates or Advisors, without the prior written consent of the other
                         party, will disclose to any person the fact that Confidential Information has been provided, that
                         discussions or negotiations are taking place with respect to the Transaction, or the terms, conditions, or
                         other facts of such Transaction, including the status thereof.

                    E. Due Care. Recipient shall exercise the same degree of care with respect to the Confidential Information
                         it receives from Discloser as Recipient normally takes to safeguard and preserve its own confidential
                         and proprietary information, which in all cases shall be at least a commercially reasonable level of care.


              3. Information”, “Intellectual Property” or “IP” means or includes, but not be limited to, information which
                   relates to:



http://emecloud.com/emecloud-confidentiality-agreement/[1/15/2020 3:03:00 PM]
Emecloud Confidentiality Agreement | EmeCloud
              Case 8:19-cv-02147-JSM-SPF Document 16-2 Filed 01/30/20 Page 20 of 23 PageID 557
                    A. Pricing and Price Lists as specified in the Reseller Price List and as presented to Reseller in the Control
                         Panel;

                    B. Financial information about, or relating to, sales, financial projections, production and/or operational
                         costs and profit and loss margins.

                    C. Engineering, business, software and/or hardware processes, settings, specifications or configurations;

                    D. Current or prospective clients or customers.

                    E. Former, current or prospective Eme Channel Reseller, Authorized Partners or Sales Agents

                    F. Market information, analysis or research not generally available to the public;

                    G. Marketing materials, training materials and processes not generally available to the public

                    H. Software, software code (whether as a whole or part) or software tools.


              4. Ownership. Recipient acknowledges and agrees that any Confidential Information of the Discloser, in
                   whatever form or format such information is conveyed or disclosed, is the sole and exclusive property of
                   Discloser. Recipient agrees that upon the request of, and as directed by, Discloser, Recipient shall either (at
                   the election of Discloser) return to Discloser all such information, retaining no copies thereof, or destroy all of
                   Discloser’s Confidential Information in Recipient’s possession or control and promptly certify to Discloser the
                   information, and all copies of the information, have been destroyed.


              5. Remedies. The parties acknowledge that all Confidential Information is considered to be proprietary and of
                   competitive value, and in many instances, the trade secrets of Discloser. The parties agree that because of
                   the unique nature of the Confidential Information, any breach of this Agreement would cause irreparable
                   harm and money damages and other remedies available at law in the event of a breach would not be
                   adequate to compensate for any such breach. Accordingly, the non-breaching party shall be entitled, without
                   the requirement of posting a bond or other security, to equitable relief, including, without limitation, injunctive
                   relief and specific performance, as a remedy for any such breach. Such relief shall be in addition to, and not
                   in lieu of, all other remedies available at law or in equity to the non-breaching party.


              6. Compelled Disclosure. If Recipient or any of its Affiliates or Advisors is legally compelled (whether by
                   deposition, interrogatory, request for documents, subpoena, civil investigation, demand or similar process) to
                   disclose any of the Confidential Information (including the fact that discussions or negotiations are taking
                   place with respect to the Transaction), Recipient shall immediately notify Discloser in writing of such
                   requirement so that Discloser may seek a protective order or other appropriate remedy and/or waive
                   Recipient’s compliance with the provisions hereof. Recipient will use its best efforts, at Discloser’s expense,
                   to obtain or assist Discloser in obtaining any such protective order. Failing the entry of a protective order or
                   the receipt of a waiver hereunder, Recipient may disclose, without liability hereunder, that portion (and only
                   that portion) of the Confidential Information that Recipient has been advised by written opinion of counsel
                   reasonably acceptable to Discloser that it is legally compelled to disclose; provided, however, that Recipient
                   agrees to use its best efforts to obtain assurance that confidential treatment will be accorded such
                   Confidential Information by the person or persons to whom it was disclosed.


              7. No License. No license or conveyance of any rights held by either party under any discoveries, inventions,


http://emecloud.com/emecloud-confidentiality-agreement/[1/15/2020 3:03:00 PM]
Emecloud Confidentiality Agreement | EmeCloud
              Case 8:19-cv-02147-JSM-SPF Document 16-2 Filed 01/30/20 Page 21 of 23 PageID 558
                   patents, trade secrets, copyrights, or other form of intellectual property is granted or implied by this
                   Agreement or by the disclosure of any Confidential Information pursuant to this Agreement.


              8. No Obligations. This Agreement shall not constitute, create, give effect to or otherwise imply (i) a joint
                   venture, pooling arrangement, partnership or formal business organization of any kind, or (ii) any obligation
                   or commitment on either party to submit a proposal or to enter into a further contract or business relationship
                   with the other party, or (iii) any obligation to disclose, supply or otherwise communicate any information,
                   general or specific, to the other party.


              9. No Representations / Warranties. Each Party understands and agrees that the Discloser is not making any
                   representation or warranty, expressed or implied, as to the accuracy or completeness of the Confidential
                   Information. Discloser shall not be liable to Recipient or to any other person resulting from the permitted
                   disclosure or permitted use of the Confidential Information.


             10. Term; Termination. This Agreement shall begin on the latest date of the signatures of the parties below,
                   subject only to the exchange of signature pages by the parties. Unless otherwise terminated by the mutual,
                   written consent of both parties, this Agreement shall continue unabated for a term of five (5) years, calculated
                   from the last date on which Confidential Information was exchanged between the parties. Notwithstanding
                   the foregoing, the parties agree that the parties shall never reveal a Discloser’s trade secrets to any third
                   party at any time and, further, this covenant to keep trade secrets confidential shall survive the termination of
                   this Agreement.


             11. Miscellaneous. This Agreement shall bind and inure to the benefit of the parties hereto and their successors
                   and permitted assigns. This Agreement shall be governed by the laws of Florida, without reference to conflict
                   of laws principles. This Agreement contains the entire agreement between the parties with respect to the
                   subject matter hereof. Any failure to enforce any provision of this Agreement shall not constitute a waiver
                   thereof or of any other provision hereof. This Agreement may not be amended, nor any obligation waived,
                   except by a writing signed by both parties. Neither party may assign its rights or obligations hereunder
                   without the other party’s written consent. This Agreement may be signed and transmitted electronically in
                   counterparts, and each counterpart shall be deemed an original for all purposes.


                                      AGREED AND ACCEPTED (fields required in the electronic form)


            Date: *




            Company Name: *




            First Name: *




http://emecloud.com/emecloud-confidentiality-agreement/[1/15/2020 3:03:00 PM]
Emecloud Confidentiality Agreement | EmeCloud
              Case 8:19-cv-02147-JSM-SPF Document 16-2 Filed 01/30/20 Page 22 of 23 PageID 559

            Last Name: *




            Title/position: *




            Email Address: *




            Office Number: *




            Mobile Number: *




            Company Address 1 *




            Company Address 2




            Company City *




            Company State (abbreviations preferred) *




            Company Country *




            Company Zip Code or Postal Code *




            Company Website: *




http://emecloud.com/emecloud-confidentiality-agreement/[1/15/2020 3:03:00 PM]
Emecloud Confidentiality Agreement | EmeCloud
              Case 8:19-cv-02147-JSM-SPF Document 16-2 Filed 01/30/20 Page 23 of 23 PageID 560

               I Agree and Accept



             * By clicking this button and submitting this form electronically you are acknowledging and confirm
             that the fields First and Last Name are legally binding as your "Digital Signature".

                                                      EME CLOUD Confidentiality Agreement 2013-3




            Copyright 2020 EmeCloud | Powered by: The Real Cloud | Our
            Privacy Policy




http://emecloud.com/emecloud-confidentiality-agreement/[1/15/2020 3:03:00 PM]
